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 6
       Attorney for Defendant Virginia Community Bank
 7

 8
                             UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
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11
                                                    Case No. 2:17-cv-03201-MWF(FFMx)
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13     JASON L. ALAN, an individual,
                                                    Joint Stipulation for Dismissal
14                                                  of Action with Prejudice
             Plaintiff,
15
       vs.
16

17     VIRGINIA COMMUNITY BANK, a
       Virginia Corporation; and DOES 1 through
18     10, inclusive,
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             Defendants.
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                              STIPULATION FOR DISMISSAL WITH PREJUDICE
 Case 2:17-cv-03201-MWF-FFM Document 29 Filed 06/15/17 Page 2 of 2 Page ID #:371




 1         The parties to this action, Plaintiff Jason L. Alan and Defendant Virginia
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     Community Bank, by and through their counsel of record, hereby stipulate to dismissal of
 3
 4   this action its entirety, including each and every one of the claims asserted in the action,
 5   with prejudice, pursuant to Federal Rule of Civil Procedure 41(a)( l )(A)(ii). Each side
 6
     shall bear its own costs and fees incurred in connection with the underlying action,
 7
 8   SO STIPULATED,
 9   June 1.5, 2017                                       J A a~
                                                  SCouisa Pensanti
                                                                          A
                                                                                  ^
10
                                                    Attorney for Plaintiff Jason L. Alan
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     SO STIPULATED.
13
14 June 15, 2017
                                                   Charles Hokanson
15                                                 Attorney for Defendant Virginia
16                                                 Community Bank
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                               STIPULATION FOR DISMISSAL WITH PREJUDICE
